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                 In the United States Court of Appeals
                        for the Eleventh Circuit

TIMOTHY BURKE,
    Movant-Appellant,
v.                                                No. 23-13649-HH
UNITED STATES OF AMERICA,
     Defendant-Appellee


              United States’ Amended Certificate of Interested
               Persons and Corporate Disclosure Statement

      The following persons and entities have an interest in the outcome of

this case:

      1.     American Civil Liberties Union, amicus curiae;*

      2.     American Civil Liberties Union of Florida, amicus curiae;*

      3.     Brown, Bruce D., Esq.;*

      4.     Burke, Timothy, movant-appellant;

      5.     Florida First Amendment Foundation, amicus curiae;*

      6.     Flynn, Hon. Sean P., United States Magistrate Judge;

      7.     Foundation for Individual Rights and Expression, amicus curiae;*

      8.     Gershow, Holly L., Assistant United States Attorney,
             Deputy Chief, Appellate Division;


      *
       This person or entity is being added to the United States’ initial
Certificate of Interested Persons and Corporate Disclosure Statement.
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     9.   Granick, Jennifer, Esq.;*

     10. Handberg, Roger B., United States Attorney;

     11. Jung, Hon. William F., United States District Judge;

     12. LoCicero, Carol J., Esq.;*

     13. Maddux, Michael P., Esq.;*

     14. National Press Club, amicus curiae;*

     15. National Press Club Journalism Institute, amicus curiae;*

     16. Philipson, Jon M., Esq.;*

     17. Rasch, Mark D., Esq.;

     18. Reporters Committee for Freedom of the Press, amicus curiae;*

     19. Rhodes, David P., Assistant United States Attorney,
         Chief, Appellate Division;

     20. Tilley, Daniel Boaz, Esq.;* and

     21. Trezevant, Jay G., Assistant United States Attorney.

     No publicly traded company or corporation has an interest in the

outcome of this appeal.




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     No publicly traded company or corporation has an interest in the

outcome of this appeal.

                                          Respectfully submitted,

                                          ROGER B. HANDBERG
                                          United States Attorney

                                    By:   s/ Holly L. Gershow
                                          HOLLY L. GERSHOW
                                          Assistant United States Attorney
                                          Deputy Chief, Appellate Division
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                                          Certificate of Service

         I certify that a copy of this amened certificate of interested persons and

corporate disclosure statement as well as the notice of electronic filing was sent

by CM/ECF on February 26, 2024, to all counsel of record.



                                                         s/ Holly L. Gershow
                                                         HOLLY L. GERSHOW
                                                         Assistant United States Attorney




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